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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


                                Alexandria Division



THE ATLANTA CHANNEL, INC.

             Plaintiff,



V.                                               Civil Action No. l:20-cv-160



HENRY A. SOLOMON, ^ AL.,

             Defendants.


                                 MEMORANDUM OPINION


      THIS    MATTER     comes    before      the    Court   on    Defendant       National


Casualty Company's Motion to Dismiss for Improper Venue, or in the

alternative, to transfer to the United States District Court for

the District of Columbia.


      On    February 13,       2020, Plaintiff Atlanta               Channel,      Inc., a

Florida     corporation        with    its    principal      place     of      business   in

Georgia,     filed    this     lawsuit       alleging      that    Defendant       National

Casualty Company's Malpractice Insurance Policy, No. LPO-0011833

(the ^"Policy"), provides insurance coverage for certain acts of

malpractice     committed        by its former           attorney.     Defendant       Henry

Solomon. Plaintiff specifically alleges that the Policy provides

coverage     for   the    case    it    filed       on   October    26,     2015   against

Defendant Solomon and others in the United States District Court


for   the    District     of    Columbia,      No.       15-cv-1823.      In    that   case.
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